JS 44 (Rev. 11/15)                                                  CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference ofthe United States in September 1974, is required for the use ofthe Clerk of Court for the
purpose of initiating the civil docket sheet. (SEEINSTRUCTIONS ON NEXTPAGE OF THIS FORM.)

I.(a) PLAINTIFFS                                                                                    DEFENDANTS
 Anthony Thompson                                                                                  Balfour Beatty Infrastructure, Inc.; et al.


  (b) County of Residence of First Listed Plaintiff Cumberland                                       County ofResidence of First Listed Defendant
                        (EXCEPTIN U.S. PLAINTIFF CASES)                                                                  (  IN U.S. PLAINTIFF CASES ONLY)
                                                                                                     NOTE: IN LAND CONDEMNATION CASES,USE THE LOCATION OF
                                                                                                             THE TRACT OF LAND INVOLVED.

 (C) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (IfKnown)
Marto Thaggard-O'Tuel and Brenton D. Adams                                                         Brian 0. Beverly
Brent Adams & Associates                                                                           Young Moore & Henderson, P.A.
P.O. Box 1389, Dunn, NC 28335;(910)892-8177                                                        P.O. Box 31627, Raleigh, NC 27622;(919)782-6860

II. BASIS OF JURISDICTION(Place an "X"in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X"in One Boxfor Plaintiff
                                                                                               (  For Diversity Cases Only)                                     and One Boxfor Defendant)
01    U.S. Government             0 3 Federal Question                                                                    PTF     DEF                                         PTF      DEF
        Plaintiff                       (U.S. Government Not a Party)                       Citizen of This State         IZ 1    0 1      Incorporated or Principal Place     0 4 04
                                                                                                                                             ofBusiness In This State

O 2 U.S. Government                  4 Diversity                                            Citizen of Another State      02      0 2 Incorporated and Principal Place      0 5      LEI 5
      Defendant                         ( Indicate Citizenship ofParties in Item III)                                                    ofBusiness In Another State

                                                                                            Citizen or Subject of a       0 3     0 3      Foreign Nation                   0 6      06
                                                                                              Foreign Country
 W. NATURE OF SUIT(Place an "X" in One Box On
1.    CONTRACT                            TORTS                                              !....FOIRFEITURE/PENALTIVII             BANKRUPTCY                 :,,ilOTHERSTATUTES
0 110 Insurance                    PERSONAL INJURY                PERSONAL INJURY           0 625 Drug Related Seizure        0 422 Appeal 28 USC 158    0 375 False Claims Act
0 120 Marine                     0 310 Airplane                 0 365 Personal Injury -           ofProperty 21 USC 881       0 423 Withdrawal           0 376 Qui Tam(31 USC
0 130 Miller Act                 0 315 Airplane Product               Product Liability     0 690 Other                             28 USC 157                 3729(a))
0 140 Negotiable Instrument               Liability             0 367 Health Care/                                                                       0 400 State Reapportionment
0 150 Recovery ofOverpayment 0 320 Assault, Libel &                  Pharmaceutical                                              I'kO1PERT. 1;' GHTS     0 410 Antitrust
      & Enforcement of Judgment           Slander                     Personal Injury                                         0 820 Copyrights           0 430 Banks and Banking
O 151 Medicare Act               0 330 Federal Employers'             Product Liability                                       0 830 Patent               0 450 Commerce
0 152 Recovery of Defaulted               Liability             0 368 Asbestos Personal                                       0 840 Trademark            0 460 Deportation
      Student Loans              0 340 Marine                          Injury Product                                                                    0 470 Racketeer Influenced and
     (Excludes Veterans)         0 345 Marine Product                  Liability                   LABOR                        SOCIALSECURITY:!!!             Corrupt Organizations
0 153 Recovery ofOverpayment              Liability              PERSONAL PROPERTY      0 710 Fair Labor Standards            0 861 HIA(1395ff)          0 480 Consumer Credit
      of Veteran's Benefits      0 350 Motor Vehicle            0 370 Other Fraud              Act                            0 862 Black Lung(923)      0 490 Cable/Sat TV
0 160 Stockholders' Suits        0 355 Motor Vehicle            0 371 Truth in Lending  0 720 Labor/Management                0 863 DIWC/DIWW (405(g)) 0 850 Securities/Commodities/
O 190 Other Contract                     Product Liability      0 380 Other Personal           Relations                      0 864 SSID Title XVI              Exchange
0 195 Contract Product Liability 6360 Other Personal                  Property Damage   0 740 Railway Labor Act               0 865 RSI(405(g))          0 890 Other Statutory Actions
0 196 Franchise                          Injury                 0 385 Property Damage   0 751 Family and Medical                                         0 891 Agricultural Acts
                                 0 362 Personal Injury -              Product Liability        Leave Act                                                 0 893 Environmental Matters
                                         Medical Malpractice                            0 790 Other Labor Litigation                                     0 895 Freedom ofInformation
      RE WEROP:ERTY                !!' CIVIEllaillIS            PRISONERPETTTIONNA 0 791 Employee Retirement                  A;!!::FEDERALTAX$ITITS ,          Act
0 210 Land Condemnation          0 440 Other Civil Rights         Habeas Corpus:              Income Security Act             0 870 Taxes(U.S. Plaintiff 0 896 Arbitration
0 220 Foreclosure                0 441 Voting                   0 463 Alien Detainee                                                 or Defendant)       0 899 Administrative Procedure
0 230 Rent Lease & Ejectment     0 442 Employment               0 510 Motions to Vacate                                       0 871 IRS—Third Party            Act/Review or Appeal of
0 240 Torts to Land              0 443 Housing/                       Sentence                                                       26 USC 7609               Agency Decision
0 245 Tort Product Liability             Accommodations         0 530 General                                                                            0 950 Constitutionality of
0 290 All Other Real Property    0 445 Amer. w/Disabilities -   0 535 Death Penalty          ! IMMIGRATION                                                     State Statutes
                                         Employment               Other:                0 462 Naturalization Application
                                 0 446 Amer. w/Disabilities -   0 540 Mandamus & Other 0 465 Other Immigration
                                         Other                  0 550 Civil Rights             Actions
                                 O 448 Education                0 555 Prison Condition
                                                                0 560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement

V. ORIGIN (Place an "X"in One Box Only)
01     Original         X2 Removed from              O 3        Remanded from           0 4 Reinstated or      0 5 Transferred from        0 6 Multidistrict
       Proceeding          State Court                          Appellate Court             Reopened               Another District            Litigation
                                                                                                                  ( specti5)
                                      Cite the U.S. Civil Statute under which you are filing(Do not citejurisdicfionnl statutes unless diversity):

VI. CAUSE OF ACTION                   Brief description of cause:


VII. REQUESTED IN    CI CHECK IF THIS IS A CLASS ACTION                                        DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23,F.R.Cv.P.                                                                                        JURY DEMAND:             0 Yes       0 No

VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                 DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
                                                                  /s/ Brian 0. Beverly
FOR OFFICE USE ONLY

   RECEIPT #                  AMOUNT                                   APPLYING IFP                                   JUDGE                          MAG.JUDGE
                               Case 5:19-cv-00319-BO Document 1-1 Filed 07/26/19 Page 1 of 2
JS 44 Reverse (Rev. 11/15)


                    INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL.COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law,except as provided by local rules of court. This form, approved by the Judicial Conference ofthe United States in September 1974, is
required for the use ofthe Clerk of Court for the purpose ofinitiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency, use
I.(a)
    only the full name or standard abbreviations. Ifthe plaintiff or defendant is an official within a government agency, identify first the agency and
    then the official, giving both name and title.
(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name ofthe county where the first listed plaintiff resides at the
    time of filing. In U.S. plaintiff cases, enter the name ofthe county in which the first listed defendant resides at the time of filing. (NOTE:In land
    condemnation cases, the county ofresidence ofthe "defendant" is the location ofthe tract ofland involved.)
(c) Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
    in this section "(see attachment)".

II.      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires thatjurisdictions be shown in pleadings. Place an "X"
         in one ofthe boxes. Ifthere is more than one basis ofjurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1)Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers ofthe United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3)This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty ofthe United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4)This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked,the
         citizenship ofthe different parties must be checked. (See Section III below; NOTE:federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) ofPrincipal Parties. This section ofthe JS 44 is to be completed if diversity ofcitizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. Ifthe nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one ofthe six boxes.
         Original Proceedings. (1)Cases which originate in the United States district courts.
         Removed from State Court. (2)Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3)Check this box for cases remanded to the district court for further action. Use the date ofremand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District (5)For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation. (6)Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
         When this box is checked, do not check(5)above.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description ofthe cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not ajury is being demanded.

VIII. Related Cases. This section ofthe JS 44 is used to reference related pending cases, if any. Ifthere are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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